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                                 Exhibit “B”
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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK (SYRACUSE)
------------------------------------------------------------------x

In re:

Joseph A. DiMino, Jr,                                                   Case No. 23-30672-5-wak

                                                                        Chapter 13

                 Debtor.                                                HON. WENDY A. KINSELLA


Last four digits of Social Security No(s): xxx-xx-3179
------------------------------------------------------------------x

         CERTIFICATION OF PAYMENT HISTORY ON THE NOTE AND MORTGAGE
                DATED SEPTEMBER 14, 2021 AND RELATED INFORMATION
                                                        Vice President for ServiceMac, LLC.
  Jennifer Gray
_____________________________, of full age, employed as________________________ by

MOVEMENT MORTGAGE, LLC, BY SERVICE MAC, LLC, ITS APPOINTED ATTORNEY IN FACT,
hereby certifies the following information:

Mortgage Recorded on: September 21, 2021, in Onondaga County, as Instrument Number 2021-
00044931

Property Address: 4815 Lepinske Farm Place, Clay, NY 13041

Mortgage Holder: MOVEMENT MORTGAGE, LLC

Movant’s relationship to Mortgage Holder: Holder of Mortgage

Mortgagor(s)/Debtor(s): Joseph DiMino aka Joseph A. DiMino, Jr,

Bankruptcy Petition filed on: September 20, 2023

First Post-Petition Mortgage Payment Due: October 1, 2023

POST-PETITION PAYMENT HISTORY:

            Amount         Date Payment        How Payment            Amount     Date Payment     Running
            Due            Was Due             was Applied            Received   Received         Suspense
                                               (Mo./Yr.)

1.         $0.00          N/A                 Suspense            $2,718.00      11/17/2023     $2,718.00
2.         $3,731.92      11/01/2023          11/2023             $2,178.00      01/02/2024     $1,704.08
3.         $3,731.92      12/01/2023          12/2023             $2,718.00      01/25/2024     $690.16
                                                                                                4690.16
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4.      $0.00        N/A              Suspense           $2,718.00    02/23/2024     $3,408.16
5.      $3,731.92    01/01/2024       01/2024            $2,718.00    03/27/2024     $2,394.24
6.      $3,731.92    02/01/2024       02/2024            $2,800.00    04/25/2024     $1,462.32
7.      $3,731.92    03/01/2024       03/2024            $3,100.00    07/01/2024     $830.40
8.      $0.00        N/A              Suspense           $1,500.00    08/02/2024     $2,330.40
9.      $3,334.08    04/01/2024       04/2024            $2,000.00    08/22/2024     $996.32
10.     $3,334.08    05/01/2024       05/2024            $3,000.00    09/10/2024     $662.24
11.     $3,334.08    06/01/2024       06/2024            $3,000.00    11/01/2024     $328.16
12.     $0.00        N/A              Suspense           $2,500.00    12/05/2024     $2,828.16
13.     $3,334.08    07/01/2024       N/A                $0.00        N/A            $2,828.16
14.     $3,334.08    08/01/2024       N/A                $0.00        N/A            $2,828.16
15.     $3,334.08    09/01/2024       N/A                $0.00        N/A            $2,828.16
16.     $3,334.08    10/01/2024       N/A                $0.00        N/A            $2,828.16
17.     $3,334.08    11/01/2024       N/A                $0.00        N/A            $2,828.16
18.     $3,334.08    12/01/2024       N/A                $0.00        N/A            $2,828.16
19.     $3,334.08    01/01/2025       N/A                $0.00        N/A            $2,828.16
20.     $3,334.08    02/01/2025       N/A                $0.00        N/A            $2,828.16
21.     $3,334.08    03/01/2025       N/A                $0.00        N/A            $2,828.16
TOTAL   $58,668.56                                       $31,490.09

MONTHLY POST-PETITION PAYMENTS PAST DUE:
9 multiplied by $3,334.08 minus $2,828.16 = $27,178.56 Due as of March 7, 2025.


Itemize Past-Due Late Charges and Other Additional Charges Below. Attach a separate sheet, if
necessary.

 Type of Charge          Date Incurred         Relative to Payment Due on   Amount
 N/A                     N/A                   N/A                          N/A
 Total Additional                                                           N/A
 Charges Amount Due


EACH CURRENT MONTHLY PAYMENT IS COMPRISED OF:

Principal……………….           $3,334.08
Interest…………………            Inc. in Principal
R.E. Taxes……………..          $0.00
Insurance………………            $0.00__
Late Charge……………           $0.00
Other…………………..             $0.00                    (Specify)
TOTAL…………………               $3,334.08

If the monthly payment has changed during the pendency of the case, please explain (attach a
separate sheet, if necessary): Effective 04/01/2024: $3,334.08
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                       REQUIRED ATTACHMENTS TO MOTION

Please attach the following documents to your motion and indicate the exhibit number associated
with the documents.

       (1) Copies of documents that indicate Movant’s interest in the subject property. For
           purposes of example only, a complete and legible copy of the promissory note or
           other debt instrument together with the complete and legible copy of the mortgage and
           any assignments of the note and mortgage in the chain of title from the original
           mortgagee to the current moving party. (Exhibit A.)

       (2) Copies of documents establishing that Movant’s interest in the real property or
           cooperative apartment was perfected. For the purposes of example only, a complete
           and legible copy of the Financing Statement (UCC-1) filed with either the Clerk’s
           Office of the Register of the county the property or cooperative apartment is located
           in. (Exhibit A.)
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                               CERTIFICATION FOR BUSINESS RECORDS

I CERTIFY THAT THE INFORMATION PROVIDED IN THIS FORM AND/OR ANY
EXHIBITS ATTACHED TO THIS FORM (OTHER THAN THE TRANSACTIONAL
DOCUMENTS ATTACHED AS REQUIRED BY PARAGRAPHS 1 AND 2 IMMEDIATELY
ABOVE) IS DERIVED FROM RECORDS KEPT IN THE COURSE OF REGULARLY
CONDUCTED ACTIVITY, MADE AT OR NEAR THE TIME OF THE OCCURRENCE OF
THE MATTERS SET FORTH BY OR FROM INFORMATION TRANSMITTED BY, A
PERSON WITH KNOWLEDGE OF THOSE MATTERS, AND WERE MADE BY
REGULARLY CONDUCTED ACTIVITYAS REGULAR PRACTICE.

I FURTHER CERTIFY THAT THE COPIES OF ANY TRANSACTIONAL DOCUMENTS
ATTACHED TO THE MOTION AS REQUIRED BY PARAGRAPHS 1 AND 2
IMMEDIATELY ABOVE, ARE TRUE AND ACCURATE COPIES OF THE ORIGINAL
DOCUMENTS THAT ARE IN THE POSSESSION OF THE MOVANT, EXC EPT AS
FOLLOWS:___________________________________________.


       Jennifer Gray, Vice President of ServiceMac, LLC as servicer for
I, ____________________________________                                 <NAME   AND     TITLE>           OF
MOVEMENT MORTGAGE, LLC, BY SERVICE MAC, LLC, ITS APPOINTED ATTORNEY IN FACT
<NAME        OF       MOVANT>,       DECLARE        (OR      CERTIFY,
VERIFY, OR STATE) UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

             Chesapeake
EXECUTED AT ____________________ <CITY/TOWN>, ____
                                              VA                   10th
                                                   <STATE> ON THIS ____

        March
DAY OF ___________      25 .
                   , 20_____



                                                              ________________________________________
                                                              MOVEMENT MORTGAGE, LLC, BY
                                                              SERVICE MAC, LLC, ITS APPOINTED
                                                              ATTORNEY IN FACT
                                                              9726 Old Bailes Road, Suite 200
                                                              Fort Mill, SC 29707
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                                 Exhibit “C”
              Case
               Case23-30672-5-wak
                    23-30672-5-wak Doc
                                    Doc153-1
                                          FiledFiled
                                                09/20/23
                                                     03/10/25
                                                           Entered
                                                                Entered
                                                                     09/20/23
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                                        Document
                                          Exhibits Page
                                                      Page3514ofof
                                                                 3560
Fill in this information to identify your case and this filing:

Debtor 1                    Joseph A. DiMino, Jr
                            First Name                                 Middle Name                    Last Name

Debtor 2
(Spouse, if filing)         First Name                                 Middle Name                    Last Name


United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF NEW YORK

Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                         12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

       No. Go to Part 2.

       Yes. Where is the property?




1.1                                                                            What is the property? Check all that apply
       4815 Lepinski Farm Place                                                       Single-family home                         Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                 Current value of the      Current value of the
       Clay                              NY        13041-0000                         Land                                       entire property?          portion you own?
       City                              State              Z P Code                  Investment property                               $486,577.00                $486,577.00
                                                                                      Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                               Who has an interest in the property? Check one    a life estate), if known.
                                                                                      Debtor 1 only                              Homestead
       Onondaga                                                                       Debtor 2 only
       County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                      Check if this is community property
                                                                                      At least one of the debtors and another         (see instructions)
                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:
                                                                               Deed: 2021-44930
                                                                               Mortgage 2021-44931
                                                                               Estranged wife lives here with their children


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here...........................................................................=>                      $486,577.00


Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                 Schedule A/B: Property                                                                  page 1
